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 1 LAW OFFICES OF CHRIS COSCA
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 3 (916) 440-1010

 4 Attorney for Defendant
   TOSH BABU
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 7                              IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00204-TLN
11                                  Plaintiff,           STIPULATION AND ORDER TO
                                                         CONTINUE SENTENCING
12   v.
13   TOSH BABU,
14                                  Defendant.
15

16                                               STIPULATION
17           Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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             1.       The Court previously set this matter for Judgment and Sentencing on August 24,
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     2017.
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22           2.       By this stipulation, the parties now move to continue Judgment and Sentencing to

23 August 31, 2017, at 9:30 a.m. The reason for this request is that defense counsel will be in trial on

24 August 24, 2017.

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     USA v. BABU, 2:15-cr-00204, Stipulation and Order to Continue J&S
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 1
     IT IS SO STIPULATED.
 2

 3
     DATED:       August 9, 2017       PHILLIP A. TALBERT
 4                                     United States Attorney

 5                                     /s/ Matthew G. Morris___________________
                                       MATTHEW G. MORRIS
 6                                     Assistant United States Attorney

 7
     DATED:       August 9, 2017       /s/ Chris Cosca _______________________
 8                                     CHRIS COSCA
                                       Counsel for Defendant Tosh Babu
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                                              ORDER
12
                                     th
13 IT IS SO FOUND AND ORDERED this 10 day of August, 2017.

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17                                                 Troy L. Nunley
                                                   United States District Judge
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     USA v. BABU, 2:15-cr-00204, Stipulation and Order to Continue J&S
